UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

JUDGMENT IN A CIVIL CASE

JAMIE HAMILTON, AND WIFE
BONNIE HAMILTON,

Plaintiffs,
VS. NO. 1:97-cv-1261-B
GARY MYERS, AS EXECUTIVE DIRECTOR
OF THE TENNESSEE WILDLIFE

RESOURCES AGENCY, et al,

Defendant(s).

Pursuant to the Order of Dismissal, parties have advised the
Court that all claims and disputes between the parties in this
case have been settled, and that this case can be dismissed with
prejudice.

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Jf, DANIEL BREEN
ITZD STATES DISTRICT JUDGE

DATE: _{2}/2/ow
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THOMAS M. GOULD, CLERK

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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Honorable J. Breen
US DISTRICT COURT
